
PER CURIAM:
This claim was submitted to the Court for decision upon a Stipulation entered into by claimant and respondent wherein certain facts and circumstances of the claim were agreed to as follows:
1. On June 14, 2005, claimant was injured on a broken signpost at the corner of Pennsylvania Avenue and Lee Street.
2. Respondent was responsible for the maintenance of roadway signs located at the comer of Pennsylvania Avenue and Lee Street which it failed to maintain properly on the date of this incident.
3. Claimant and Respondent agree that the amount of $750.00 for the damages put forth by the claimant is fair and reasonable.
The Court has reviewed the facts of the claim and finds that respondent was negligent in its maintenance of roadway signs located at the comer of Pennsylvania Avenue and Lee Street on the date of this incident; that the negligence of respondent was the proximate cause of the damages sustained by claimant; and that the amount of the damages agreed to by the parties is fair and reasonable. Thus, claimant may make a recovery for her loss.
Accordingly, the Court is of the opinion to and does make an award in the amount of $750.00.
Award of $750.00
